443 F.2d 916
    Frank FITZPATRICK, Petitioner-Appellant,v.J. J. CLARK, Warden, Respondent-Appellee.No. 71-1430 Summary Calendar.**(1) Rule 18, 5th Cir.; see Isbell Enterprises, Inc.v.Citizens Casualty Co. of New York et al., 5th Cir. 1970, 431F.2d 409, Part I.
    United States Court of Appeals, Fifth Circuit.
    June 9, 1971.
    
      Frank Fitzpatrick, pro se.
      John W. Stokes, Jr., U.S. Atty., Allen I. Hirsch, Charles A. Pannell, Jr., Asst. U.S. Attys., Atlanta, Ga., for respondent-appellee.
      Before JOHN R. BROWN, Chief Judge, INGRAHAM and RONEY, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is taken from an order of the district court denying the petition of a federal prisoner for the writ of habeas corpus.  We affirm.
    
    
      2
      In his petition filed in the court below, appellant contended that his sentence had expired and that he is entitled to immediate release from custody.  The record reflects that appellant was first convicted and sentenced on March 12, 1963, to a term of five years imprisonment.  Subsequently, after pleading guilty to two counts of a later indictment, he was sentenced on January 16, 1964, to consecutive terms of five years on each count to run concurrently with the earlier five year sentence.  Appellant was paroled on March 16, 1968, but was returned to federal custody on May 18, 1970, as a parole violator.
    
    
      3
      As the district court concluded, it is obvious from the facts alleged that appellant's sentence has not yet expired and he is clearly not entitled to immediate release.  The judgment below is affirmed.
    
    
      4
      Affirmed.
    
    